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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:
                                                                    Case No.: 8-18-75096-las
DONALD E. REIHER and
ROSE E. REIHER,                                                     Chapter 7
                                             Debtors.
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      ORDER RETAINING BK GLOBAL REAL ESTATE SERVICES AS BROKER

        Upon the application dated November 26, 2018 (“Application”) [dkt. no. 25] of Allan B.

Mendelsohn, Chapter 7 trustee (“Trustee”) for the estate of Donald E. Reiher and Rose E. Reiher,

debtor (“Debtors”), by and through his counsel Rosen, Katrow & Dillon, PLLC, seeking entry of

an Order authorizing Trustee to retain BK Global Real Estate Services (“BK Global”), as real

estate broker for Trustee under sections 105, 327 and 328 of Title 11, United States Code

(“Bankruptcy Code”), Rule 2014 of the Federal Rules of Bankruptcy Procedure (“Bankruptcy

Rules”), and the Local Bankruptcy Rule for the Eastern District of New York (“Local Rules”), to

assist Trustee in the marketing and selling of the real property commonly known as, and located

at 310 Banbury Road, North Massapequa, NY 11758, legally known as LOT:5 BLK:508 SEC:52

DIST:282489 CITY/MUNI/TWP:OYSTER BAY UNINCORPORATED TOWN #3 SCH DIST

018 (“Real Property”); and upon the affidavit of Patrick Butler, BK Global’s broker-in-charge,

sworn to on September 12, 2018; and it appearing that BK Global does not hold or represent an

interest adverse to Debtor’s estate and is a “disinterested person” as that term is used in 11 U.S.C.

section 101(14); and that BK Global’s employment will be in the best interests of the estate; and

upon the affidavit of Deborah Bacchus of My Dream Home Realty Inc., as the Local Listing

Broker, sworn to on September 11, 2018; and it appearing that My Dream Home Realty Inc. does

not hold or represent an interest adverse to Debtor’s estate and is a “disinterested person” as that


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term is used in 11 U.S.C. section 101(14); and that the employment will be in the best interests of

the estate; and it appearing to the Court that relief sought by the Trustee is appropriate and should

be granted; it is hereby:

       ORDERED that in accordance with 11 U.S.C. sections 327(a), and 328, and Bankruptcy

Rule 2014, BK Global be, and hereby is, retained to act as a real estate broker on behalf of the

Trustee for the estate, effective as of November 5, 2018, for the sole purpose of marketing the

estate’s interest in the Real Property; and

       IT IS FURTHER ORDERED, that BK Global may place the listing for the Real Property

on the “Multiple Listing Service” (“MLS”); and

       IT IS FURTHER ORDERED, that the total commission earned by all real estate

professionals shall be six (6) percent of the gross sale price and BK Global or any other real estate

professional, shall not receive any reimbursement of disbursements related to the advertising of

the Real Property; and

       IT IS FURTHER ORDERED, that should Trustee sell the Real Property, subject to a

separate Order of the Court under 11 U.S.C. section 363, then BK Global would split the

commission and would be entitled to two percent (2%) of the gross sale price, the Local Listing

Broker, identified as Deborah Bacchus of My Dream Home Realty Inc., would be entitled to two

percent (2%) of the gross sale price, and any buyer’s broker or selling broker would be entitled to

two percent (2%) of the gross sale price, expressly subject to the requirements below; and

       IT IS FURTHER ORDERED, that BK Global, and/or any other cooperating broker on

MLS who finds the purchaser of the Real Property, shall be compensated only upon application

and upon notice and opportunity to object and in accordance with the procedures set forth in 11




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U.S.C. sections 330 and 331, and such Bankruptcy Rules as may be applicable from time to time,

the Local Rules, and such procedures as may be fixed by order of this Court; and

         IT IS FURTHER ORDERED, that BK Global shall not share its compensation with any

other individuals or entities, other than as set forth herein, and those agents and/or employees who

are or were employed by BK Global that are entitled to wages and/or commission from the sale of

the Real Property; and

         IT IS FURTHER ORDERED, that pursuant to 11 U.S.C. section 327(a), BK Global shall

seek compensation upon completion of services rendered to Trustee, upon proper application to

the Court, and upon notice and a hearing pursuant to 11 U.S.C. sections 330 and 331 and

Bankruptcy Rule 2014 and Local Rule 2014-1 and the Guidelines of the Office of the United States

Trustee; and

         IT IS FURTHER ORDERED, that the United States Trustee retains all rights to object

to BK Global’s interim and final fee applications on all grounds including, but not limited to, the

reasonableness standard provided for in section 330 of the Bankruptcy Code, and the Court retains

the right to review the interim and final applications pursuant to section 330 of the Bankruptcy

Code; and

         IT IS FURTHER ORDERED, that BK Global, as Broker to Trustee, shall not hold any

of the funds received in connection with the proposed sale of the Real Property and all funds shall

be held by Trustee in his segregated account.



 



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    Dated: January 14, 2019                                           Louis A. Scarcella
           Central Islip, New York                             United States Bankruptcy Judge

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